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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

  UNITED STATES OF AMERICA,                     )
                                                )
                         Plaintiff,             )
                                                )
         v.                                     )       Case No. 2:15-cr-72
                                                )
  JEREMIAH SHANE FARMER,                        )
                                                )
                         Defendant.             )

                                      OPINION AND ORDER

         This matter is before the court on the Motion for Disclosure of Agreements, Promises or

  Other Consideration for Testimony or Cooperation of Witnesses [DE 1124] and the Motion for

  Production Favorable Evidence [DE 1125] filed by the defendant, Jeremiah Shane Farmer, pro

  se on November 1, 2017. For the following reasons, the motions are DENIED as MOOT.

                                             Background

         The defendant, Jeremiah Shane Farmer, has been charged in the Third Superseding

  Indictment and the Fourth Superseding Indictment. The grand jury returned a fourth superseding

  indictment in this matter on November 15, 2017. Farmer currently is charged with conspiracy to

  participate in racketeering activity in violation of 18 U.S.C. § 1962(d) and conspiracy to possess

  with intent to distribute and to distribute cocaine, marijuana, and alprazolam in violation of 21

  U.S.C. § 846.

     In the motion for disclosure of agreements, promises or other consideration for testimony or

  cooperation of witnesses, Farmer has requested the following information:

     1. Any assistance given to any witness or other informant on their arrests and/or
        incarceration in prison through the present date (and to be updated as the
        assistance is given);
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     2. Any offers of payment of money for cooperation and/or testimony for any
        witness, the dates the monies were paid, the amounts of money paid on those
        dates and the case those payments were directly related to;

     3. Any specific inducements or coercive measures taken to secure testimony,
        cooperation, assistance, or statements from any co-defendants, informants, or
        witnesses, by any State or Federal investigative agency or the United States
        Attorney’s office; and

     4. Any and all information regarding the subject matter of this motion that may be
        used to impeach the testimony of any co-defendant or other witnesses as
        contemplated under Federal Rules of Evidence, Rule 609(a) or bear upon the
        credibility of a witness, Rule 16 Federal Rules of Criminal Procedure and Harris
        v. United States, 371 F.2d 365 (9th Cir. 1967).

     Farmer also has requested in the motion for favorable evidence any evidence that may

  be favorable to his defense, as well as impeachment material and any promises made to

  cooperating witnesses. The Government filed a response in opposition to Farmer’s

  motions on November 10, 2017.


                                              Discussion

         The Government must disclose any evidence favorable to a defendant if the evidence is

  material to either guilt or punishment. Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10

  L.Ed.2d 215 (1963). The Brady obligation extends to evidence that tends to impeach a

  government witness' credibility, so long as this evidence is material to the outcome of the trial.

  Giglio v. United States, 405 U.S. 150, 154, 92 S.Ct. 763, 766, 31 L.Ed.2d 104 (1972); United

  States v. Bagley, 473 U.S. 667, 676, 105 S.Ct. 3375, 3380, 87 L.Ed.2d 481 (1985); Barkauskas

  v. Lane, 878 F.2d 1031, 1033 (7th Cir. 1989). Evidence is “material” if there is a reasonable

  probability that its disclosure would change the outcome of the trial. Bagley, 473 U.S. at 682,

  105 S.Ct. at 3383.




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         The Seventh Circuit has made it clear that there is nothing in Brady that requires the

  Government to disclose prematurely material impeachment evidence, immunity agreements, or

  preferential treatment given to prosecution witnesses in exchange for their testimony before trial.

  United States v. McPartlin, 595 F.2d 1321, 1346 (7th Cir.), cert. denied, 444 U.S. 833, 100 S.Ct.

  65, 62L.Ed.2d 43 (1979). Further, Section 3500(a) provides, in pertinent part, that “no statement

  or report in the possession of the United States which was made by a Government witness or

  prospective Government witness (other than the defendant) shall be the subject of ... discovery ...

  until said witness has testified on direct examination....” 18 U.S.C. § 3500(a). The Government

  is not required to provide a defendant with a list of all prospective government witnesses.

  United States v. Napue, 834 F.2d 1311, 1317 (7th Cir. 1987). However, materials that fall under

  both the Jencks Act exemption and Brady disclosure requirement should be disclosed early

  enough that the defendant is not deprived of his right to a fair trial. See United States v. Adams,

  834 F.2d 632, 635 (7th Cir. 1987); United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).

         To the extent that Farmer’s request for information falls within the scope of Brady, the

  Government has indicated that it intends to comply with its obligations pursuant to Brady and

  Giglio. It has been held repeatedly that where the Government has made assurances it will

  comply with Giglio and Brady, those assurances are sufficient. See Strickler v. Greene, 527

  U.S. 263, 283 n. 23, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999). The Government has indicated

  that it provided all Rule 16 discovery and Brady material to Farmer on October 31, 2017.

  Moreover, the Government has indicated that it understands its discovery obligations and that it

  intends to comply with federal law and court orders regarding deadlines for providing Brady,

  Giglio, Jencks material, and any notice of Rule 404(b) evidence.




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         Based on the foregoing reasons, the Motion for Disclosure of Agreements, Promises or

  Other Consideration for Testimony or Cooperation of Witnesses [DE 1124] and the Motion for

  Production Favorable Evidence [DE 1125] are DENIED as MOOT.

         ENTERED this 18th day of December, 2017.

                                                           /s/ Andrew P. Rodovich
                                                           United States Magistrate Judge




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